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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


QUALITY EQUIPMENT LEASING, )
LLC,                       )
                           )
     Plaintiff,            )
                           )                   CIVIL ACTION NO.
     v.                    )                    2:19cv309-MHT
                           )
SHAW TRANSFER TRUCKING     )
LLC,                       )
                           )
     Defendant.            )

                                  ORDER

      It is ORDERED that the order referring this case to

the    United    States    Magistrate      Judge    (doc.    no.   8)    is

vacated.

      DONE, this the 23rd day of September, 2019.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
